Case 4:17-cv-11260-TGB-RSW ECF No. 117 filed 07/22/20                                                                       PageID.10684                  Page 1 of 9

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                                                                           July 22, 2020
 Honorable Terrence G . Berg                                                                                                        Via Electronic Filing
 Theodore Levin U .S. Courthouse
 231 W. Lafayette Blvd., Room 253
 Detroit, MI 48226

  Re:          Desheila Howiett v. City of Warren et al.
               Eastern District of Michigan Case No. 17-11260-TGB-RSW
               Supplemental Authorin'

 Dear Judge Berg:

            I provide with this letter a copy of the unpublished July 7, 2020 decision of the United
 States Court of Appeals for the Sixth Circuit in Amini v. Kite Aid Corporation, 2020 WL 3790739
 (6 rl' Cir., July 7, 2020) . I provide this as supplemental authority for Defendants’ pending Motion
 in Umine # 5 (Doc. No. 107), particularly on the issue of Title VII hostile work environment
 claims.

                                                       VeryJ trulyJ       vours
                                                                          J
                                                                               ,

                                                       CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.



                                                       Ronald G . Acho
  RGA / jac
  Enc.
  cc:           Leonard Mungo, Esq.
                Ethan Vinson, Esq.
                James R. Acho, Esq.


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                                                          KANSAS CITY. MO           NEW YORK. NY            R I V E R S I D E. C A
Case 4:17-cv-11260-TGB-RSW ECF No. 117 filed 07/22/20                     PageID.10685    Page 2 of 9



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
 DESHEILA C. HOWLETT,
                     Plaintiff,                                 Case No. 17-11260
 v                                                              Hon. Terrence G. Berg
                                                                Mag. R. Steven Whalen
 CITY OF WARREN; LT. LAWRENCE
 GARDNER; SHAWN JOHNSON; and
 ANWAR KHAN,
                     Defendants.
 THE MUNGO LAW FIRM, PLC                          CUMMINGS, McCLOREY , DAVIS & ACHO, P.L.C.
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                                    CERTIFICATE OF SERVICE
               I hereby certify that on July 22, 2020, 1 electronically filed the foregoing paper

  with the Clerk of the Court using the ECF system which will send notification of

  such filing to the attorneys of record via the Court’ s e-filing system.

                                           /s/ Ronald G. Acho
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Amini v. Rite Aid Corporation, — Fed.Appx .   — (2020)



                 2020 WL 3790739
                                                          Opinion
 Only the Westlaw citation is currently
                available.                                COOK, Circuit Judge.
      This case was not selected for
 publication in West’s Federal Reporter.
  See Fed. Rule of Appellate Procedure                    *1 The now-deceased Michael Kheibari
   32.1 generally governing citation of                   sued his former employer, bringing various
judicial decisions issued on or after Jan.                workplace harassment claims. Because
1, 2007. See also U.S.Ct. of App. 6th Cir.
                                                          Kheibari provides insufficient evidence to
                Rule 32.1.                                support his claims, we affirm the district
  United States Court of Appeals, Sixth                   court’s grant of summary judgment.
                 Circuit.
      Rosita AMINI, as Personal
     Representative of the Estate of
  Michael Kheibari, Plaintiff-Appellant,
                        v.
             RITE AID CORPORATION,                                              I.
                Defendant-Appellee.
                                                          Bom in Iran in 1949, Michael Kheibari
                      No. 19- 2097                        became an American citizen in 2003. He
                                                          began working as an assistant manager with
                FILED July 07, 2020                       Rite Aid in 2007. From 2007 to 2011,
                                                          Kheibari interacted with his supervisors,
                                                          store managers, and other Rite Aid
ON APPEAL FROM THE UNITED
                                                          employees without a major incident. But he
STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF MICHIGAN
                                                          good, some bad.
                                                                                                —
                                                          received mixed performance reviews some

Attorneys and Law Firms
                                                          Tragedy struck Kheibari and his family in
Jeffrey Samuel Burg, Law Offices, Bingham                 October 2011 when his daughter committed
Farms, MI, for Plaintiff - Appellant                      suicide. The death understandably affected
                                                          him, prompting his seeking treatment for
James Frederick Hermon, Andrea Melissa                    depression, anxiety, and insomnia from his
Frailey, Ryan Jason VanOver, Attorney,                    primary care physician and a psychologist,
Dykema Gossett, Detroit, MI, for Defendant                who prescribed antidepressants.
- Appellee
                                                          The difficulty in his personal life coincided
BEFORE:   SUTTON,       COOK,                      and    with a change of manager at work.
MURPHY, Circuit Judges.                                   According to Kheibari (only), his new
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Amini v. Rite Aid Corporation, — Fed.Appx. — (2020)



district manager, Daniel Snyder, allegedly                  Then     Kheibari’s situation took an
treated him disparagingly. Rite Aid disputes                unfavorable turn. He attempted suicide in
Kheibari’s story . But at this stage, we view               the Rite Aid break room, allegedly leaving
the record in his favor.                                    notes that the workplace conditions caused
                                                            this attempt. He was hospitalized and then
The alleged conduct took different forms.                   took medical leave. After another suicide
Sometimes, it included harsh age- based                     attempt and some months of continuous
comments. On several occasions, Snyder                      leave, Rite Aid terminated him for failure to
called Kheibari “too old,” suggested he “go                 return to work, noting his eligibility for
home,” and criticized his abilities due to his              rehire. Kheibari soon thereafter filed this
age. Other times, Snyder disparaged his                     EEOC charge and suit. When he later died
Middle Eastern origin by questioning where                  during the pendency of this action, Rosita
he is from, remarking on his accent, and                    Amini, his daughter and representative of
joking about it on a conference call with                   his estate, substituted as plaintiff.
other managers. Kheibari also recounted that
Snyder entered the store on several                         *2 That brings us to this appeal and its
occasions, shaking everyone else’s hand but                 claims: ( 1) age-based harassment under the
ignoring him. Finally, Kheibari perceived                   Age Discrimination in Employment Act
harassment in his performance reviews and                   (ADEA) and Michigan’s Elliott-Larsen Civil
thus his promotability. After Snyder entered                Rights Act (ELCRA); (2) national
the     picture,   Kheibari’s       immediate               origin-based harassment under Title VII and
supervisor ,  Beth   Spirko ,   became    less              the ELCRA; and (3) retaliatory harassment
friendly and downgraded his performance.                    under the ELCRA. The district court granted
This, according to Kheibari, resulted from                  Rite Aid summary judgment on each.
her boss Snyder’s negative influence. And
when Kheibari appeared for what he thought
was a promotion interview, district manager
Snyder responded skeptically, telling him
that he is too old, his accent is a problem,
and he should “go home.”
                                                                                   II.
Kheibari responded in a few ways. First, he                 We review the district court’s grant of
arranged to meet a different supervisor at a                summary judgment de novo, viewing the
McDonald’s to complain about Snyder’s                       entire record in a light most favorable to the
behavior. He also telephoned Snyder, asking                 party opposing summary judgment and
him to forget his hard feelings, offering to                drawing all reasonable factual inferences in
be his “right hand.” Finally , Kheibari                     that party’s favor. See Groening v. Glen
emailed Rite Aid’s CEO and President,                       Lake Cmty. Sch., 884 F.3d 626, 630 (6th Cir.
among others, claiming that Snyder violated                 2018). An entry of summary judgment
state and federal law and that he did not feel              stands only if “ the movant shows that there
safe.                                                       is no genuine dispute as to any material fact

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and the movant is entitled to judgment as a                Transp. Co . , 643 F.3d 502, 511 (6th Cir.
matter of law.” Fed. R. Civ. P. 56(a).                     2011).




                                                             1. Relevant Facts
                 A. Age Harassment                         Start by separating the wheat from the chaff .
                                                           A plaintiff must show that his age caused the
Kheibari asserts that he suffered harassment               “harassment.” Crawford , 96 F.3d at 836.
due to his age in violation of the ADEA and                “[0]nly harassment based on the plaintiffs
ELCRA. For both, a plaintiff must show that                [membership in a protected class] may be
(1) he was 40 or older; (2) he was subjected               considered” in the analysis. See Williams ,
to harassment based on age; (3) the                        643 F.3d at 511 (analyzing race-based
harassment had the effect of unreasonably                  harassment) (emphasis omitted). This
interfering with his work performance and                  includes direct and comparative evidence of
creating an objectively intimidating, hostile,             age-based harassment. See id .
or offensive work environment; and (4)
there exists some basis for liability on the               Here, Kheibari claims age-based harassment
part of the employer. Crawford v. Medina                   from the following: (1) Snyder slighting
                                     —
Gen. Hosp. , 96 F.3d 830, 834 35 (6th Cir.
1996) (ADEA); Betts v . Costco Wholesale
                                                           Kheibari in various ways; (2) a poor
                                                           performance evaluation; and (3) Snyder
Corp. , 558 F.3d 461, 468 (6th Cir. 2009)                  calling Kheibari “too old” several times.
(ELCRA).
                                                           First, Kheibari asserts that on several
This case turns on the third element. To be a              occasions Snyder entered the store but went
hostile work environment, conduct must be                  out of his way to ignore Kheibari. Yet he
so severe or pervasive that it rendered the                provides no evidence that Kheibari’s age
plaintiff’s work environment such that a                   motivated Snyder’s conduct. Rude, perhaps.
reasonable person would find it abusive or                 But not discemibly age-related, and thus not
hostile. Harris v. Forklift Sys. , Inc . , 510 U.S.        supportive of age-based harassment.
17, 21-22, 114 S.Ct. 367, 126 L.Ed.2d 295
(1993). See also Crawford , 96 F.3d at 835                 Second, Kheibari alleges that Beth Spirko
(acknowledging that “courts routinely                      evaluated him poorly after asking his age.
employ Title VII and ADEA case law                         To Kheibari, this constituted age-based
interchangeably”). Our circuit divides this                harassment. Two problems. One: Kheibari
inquiry into two steps: first, determine the               himself disavowed this allegation against
relevant facts constituting age-based                      Spirko under oath. See R.117-4 PagelD
harassment; second, assess whether that                    #2836. Two: The district court, at any rate,
conduct is sufficiently severe or pervasive to             properly found it unconvincing: “To find
create a jury question. See Williams v. CSX                age-based    harassment     under     these
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circumstances would require a string of                   utterance; and whether it unreasonably
tenuous inferences that this Court cannot                 interferes with an employee’s work
make.” R. 130, PagelD #3276. We agree                     performance.” Harris , 510 U.S. at 23, 114
with the district court that Spirko’s                     S.Ct. 367. This “severe and pervasive”
evaluation “does not constitute harassment                standard filters out complaints merely
under the circumstances.” Id.                             attacking “the ordinary tribulations of the
                                                          workplace, such as the sporadic use of
*3 That just leaves Snyder’s various                      abusive language, [discriminatory] jokes,
comments about Kheibari’s age. These                      and occasional teasing.” Faragher 524 U.S.
statements constitute direct evidence of                  at 788, 118 S.Ct. 2275 (citation omitted).
age-based conduct. But we next consider                   Thus, “simple teasing, offhand comments,
whether that is enough to support a                       and isolated incidents (unless extremely
harassment claim.                                         serious) will not amount to discriminatory
                                                          changes in the terms and conditions of
                                                          employment.” Id. (quotation marks and
                                                          citation omitted).

                                                          Here, the comments about Kheibari’s age
  2. Severe or Pervasive                                  were neither severe nor pervasive enough to
To be severe and pervasive harassment,                    create a triable age-based harassment claim.
conduct must alter the conditions of the
plaintiffs employment such that it creates                Severity. Although Kheibari says that
an objectively abusive environment.                       Snyder made multiple derogatory comments
Faragher v. City of Boca Raton , 524 U.S.                 regarding his age, none were exceptionally
775, 786-88, 118 S.Ct. 2275, 141 L.Ed.2d                  severe. Kheibari was not taunted, teased, or
662 (1998). Courts consider the totality of               ridiculed. Nor was Kheibari physically
the circumstances to determine whether the                threatened or humiliated. True, Kheibari
cumulative effect of the conduct constitutes              may have faced some offensive age-related
a change in employment conditions. See                    comments. And sure, a reasonable person
Williams, 643 F.3d at 512. That is, the                   might “react strongly.” Appellant Br. at 24.
conduct must be extreme. Faragher , 524                   But the law requires more. Harsh, rude, or
U.S. at 788, 118 S.Ct. 2275. Otherwise, the               offensive criticism from a supervisor,
ADEA becomes a “general civility code.”                   without more, cannot constitute severe
See id. And this standard must be met from                harassment. See Faragher, 524 U.S. at 788,
both an objective and subjective perspective.             118 S.Ct. 2275; see also Crawford, 96 F.3d
Hale v. ABF Freight Sys., Inc., 503 F. App’x              at 832, 835-36 (holding that the plaintiff
323, 337 (6th Cir. 2012) (citation omitted).              failed to establish a prima facie hostile work
                                                          environment claim despite a supervisor
Under this standard, courts consider “the                 saying “[o]ld people should be seen and not
frequency of the discriminatory conduct; its              heard,” and “ women should retire at age
severity; whether it is physically threatening            55,” while other coworkers allegedly made
or humiliating, or a mere offensive                       the lives of older employees “miserable.”).
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                                                          argument has two serious flaws. First, the
The response? According to Kheibari, the                  facts do not support the assertion. As we
comments were severe because they caused                  explained, not all of Snyder’s alleged
his suicide attempts. Appellant Br. at 24.                conduct, even if rude, shows age-based
Yes, suicidal thoughts may tend to show a                 animosity. Second, the argument proves too
subjectively severe workplace environment.                much. Taken to its extreme, two age-based
But countervailing evidence questions                     comments alone would create a triable
whether Snyder’s conduct caused that                      hostile work environment claim because
emotional harm. After all, doctors were                   they are the employer’s only two comments.
treating him for insomnia, anxiety, and                   This contradicts the analysis our hostile
depression stemming from the grief of his                 workplace cases require. We look instead to
daughter’s suicide. And either way, this                  the cumulative effect of the claimed
accounts only for subjective feelings of                  discriminatory conduct. And the conduct
hostility. It does not alter our conclusion that          Kheibari claims he endured fails to meet the
these      comments        were      objectively          legal standard that an age-based harassment
non-severe.                                               claim requires.

*4 Pervasiveness. By our count, Kheibari’s
story includes age-based comments on four
or five occasions over the course of nine
months. No other evidence supports
age-based conduct by Snyder, Spirko, or any
other Rite Aid employee. In Phillips, we                         B. National Origin Harassment
noted that “a handful of offensive comments               For national origin harassment, Kheibari
and an offensive meeting” does not clear the              must show that ( 1) he belonged to a
“relatively high bar for what amounts to
                                                          protected class; (2) he suffered unwelcomed
actionable discriminatory conduct under a
                                                          harassment; (3) the harassment was based on
hostile work environment theory .” Phillips
                                                          plaintiff’s national origin; (4) the harassment
v. UAW Int' l , 854 F.3d 323, 328 (6th Cir.
                                                          unreasonably interfered with the plaintiff’s
2017). In short, discrimination must                      work performance by creating an
permeate the workplace to prevail on this                 intimidating,      hostile,     or     offensive
type of claim. See Harris, 510 U.S. at 21,
                                                          environment; and (5) the employer knew or
114 S.Ct. 367. Did that occur? No. A                      should have known about the harassing
handful of harsh age-based comments hardly
                                                          conduct but failed to take corrective action.
makes a work environment hostile under the
                                                          Hafford v. Seidner, 183 F.3d 506, 512 (6th
law.
                                                          Cir. 1999) (citation omitted) (Title VII); see
                                                          also Radtke v. Everett , 442 Mich. 368, 501
                         —
Kheibari counters without supporting                      N.W.2d 155, 167 (1993) (requiring an
        —
cases that derogatory statements occurring
“100% of the time Snyder came into contact
                                                          almost identical totality of the circumstances
                                                          showing under the ELCRA).
with Plaintiff ' should constitute per se
pervasive conduct. Appellant Br. at 23. The
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We focus on the fourth element, which                     offensive utterance; and whether it
parallels our analysis for Kheibari’s                     unreasonably interferes with an employee’ s
age- based claim . To succeed , conduct must              work performance.” Harris , 510 U .S. at 23,
be so severe or pervasive that it rendered his            114 S.Ct. 367. Here, Snyder’s conduct falls
work environment such that a reasonable                   short.
person would find it abusive or hostile.
Harris , 510 U .S. at 21-22, 114 S.Ct. 367.               *5 Severity. Kheibari conceded that he faced
                                                          no physical threats, instead facing only some
                                                          offensive comments. And this court holds
                                                          much more aggressive and bigoted conduct
                                                          as insufficiently severe. See , e.g . , Reed v.
                                                          Procter & Gamble Mfg . Co. , 556 F. App’ x.
  1. Relevant Facts                                       421, 432-34 (6 th Cir. 2014); Williams, 643
As with the age- based          claim , “only             F.3d at 513. As above, Kheibari provides
harassment based on the plaintiff ’ s                     insufficient evidence to persuade a
[ membership in a protected class] may be                 reasonable jury that Snyder’s conduct was
considered” in the analysis. See Williams ,               objectively severe.
643 F.3d at 511 (emphasis omitted ). So we
disregard conduct that Kheibari fails to                   Pervasiveness. Again , the number of
connect to his national origin. That leaves us             incidents cited by Kheibari shows only
to consider       only Snyder’ s overtly                   intermittent conduct by Snyder over nine
discriminatory comments. These include                     months. Our court sees worse. In Clay v.
two phone conversations, two to three                      United Parcel Sendee , Inc., the plaintiff
conference calls, a meeting, and a few store               alleged fifteen racially motivated comments
visits. Each time, Kheibari claims Snyder                  and instances of disparate treatment over a
asked about his nationality or expressed that              two- year period . 501 F.3d 695, 707-08 ( 6 th
he had problems with and disliked his accent               Cir. 2007). Yet we held those acts to be
and nationality.                                           isolated, not pervasive, and thus not
                                                           actionable under Title VII . Id. So too here.
                                                           Like his age- based claim , the conduct fails
                                                           our test. And as above, we find unpersuasive
                                                           Kheibari’ s argument that Snyder’s conduct
                                                           was per se pervasive.
   2. Severe or Pervasive
To prevail, the cumulative conduct must
create an objectively abusive environment.
Faragher, 524 U .S. at 786-88, 1 18 S.Ct.
2275. We assess the conduct under the
totality of the circumstances and consider
the “ the frequency of the discriminatory                                  C. Retaliation
conduct; its severity ; whether it is physically
threatening or humiliating, or a mere                      Kheibari     also    asserts      that   Snyder’ s

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harassment constituted retaliation in                     (6th Cir. 2007). Kheibari claims that he
violation of the ELCRA. The ELCRA                         complained to management about Snyder’s
prohibits discrimination or retaliation                   behavior on two occasions. But Kheibari
against a person “because the person has                  provides no evidence that his alleged
opposed a violation of this act, or because               harasser, Snyder, knew of his complaints.
the person has made a charge, filed a                     See Frazier, 250 F. App’x at 148. And
complaint, testified, assisted, or participated           Snyder denied such knowledge.
in an investigation, proceeding, or hearing
under this act.” Mich. Comp. Laws Ann. §                  The closest Kheibari comes is a phone
37.2701(a). “Michigan courts use the federal              conversation with Snyder. On that call,
Title VII framework to assess retaliation                 Kheibari sought to patch things up, offering
claims.” Mumm v. Charter Township of                      to be Snyder’s “right hand.” Kheibari
Superior, 727 F. App’x 110, 114 (6th Cir.                 implies that both parties knew this call was
2018) (citing Garg v. Macomb Cty. Cmty.                   about his workplace complaints. Why?
Mental Health Servs., 472 Mich. 263, 696                  Unclear. Kheibari never mentioned his
N.W.2d 646, 653 (2005); Hazle v. Ford                     gripes concerning discrimination on the call.
Motor Co., 464 Mich. 456, 628 N.W.2d 515,                 Even if he thought the call conveyed his
520-21 (2001)). A plaintiff must show “(1)                workplace complaints, that does not make it
that he engaged in a protected activity; (2)
that this was known by the defendant; (3)
                                                             —
                                                          so we don’t impute Kheibari’s thoughts to
                                                          Snyder. And because Kheibari provides no
that the defendant took an employment                     support from which a reasonable factfinder
action adverse to the plaintiff; and (4) that             could conclude that Snyder knew of his
there was a causal connection between the                 complaints, he cannot show his acts
protected activity and the adverse                        prompted Snyder’s harassment.
employment action.” Garg , 696 N.W.2d at
653 (citation omitted).                                   We AFFIRM.

The second element dooms Kheibari’s
claim. A retaliatory harassment claim                      All Citations
requires knowledge of protected activity.
See Scott v. Eastman Chem. Co., 275 F.
App’x 466, 482 (6th Cir. 2008); Frazier v.
                                                           —   Fed.Appx.
                                                                               —    , 2020 WL 3790739

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